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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

CHARLES E. ASKEW                                                                     PLAINTIFF

v.                                    No. 4:19-cv-114-DPM

CHARLES FRAZIER; CHARLES JACKSON;
DONNA BOWERS; and TINA MOSELY                                                    DEFENDANTS


                   JOINT MOTION FOR SETTLEMENT CONFERENCE
       COME NOW Plaintiff Charles E. Askew (Plaintiff) and Defendants Charles Frazier,

Charles Jackson, and Donna Bowers (Defendants), by and through their undersigned counsel, and

jointly submit the following Motion for Settlement Conference, and states as follows:

       1.      This case is currently set for a jury trial the week of February 8, 2021. See ECF 66.

       2.      The current Amended Final Scheduling Order in this case establishes that requests

for settlement conference must be made on or before October 12, 2020. Id.

       3.      The Parties have engaged in settlement discussions and it is the opinion of the

respective counsel that a settlement conference, as was suggested by the Order dated May 21,

2020, would be beneficial. See ECF 70, n.1.

       4.      Therefore, the Parties respectfully request that the Court grant their joint motion

and set this case for settlement conference with the Magistrate Judge at the earliest mutually

convenient date.

       WHEREFORE, the Parties respectfully request that the Court grant their Joint Motion for

Settlement Conference and set this matter for a settlement conference with the Magistrate Judge

at the earliest time mutually agreeable to the Court and the Parties.
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                                             Respectfully submitted,

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